Case 3:11-cv-00065-JRS Document 2 Filed 01/26/11 Page 1 of 2 PagelD# 19

AO 458 (Rev. 06/09) Appearance of Counsel

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KYSS BURTON, BY HER MOTHER,

SAKIA HALL AS NEXT FRIEND

AND :

SAKTA HALL,

Plaintiffs,

y. C.A. No. 3:11¢ev065
HAROLD FORD,
Defendant.

APPEARANCE OF COUNSEL

To: The Clerk of Court and All Parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for defendant Harold Ford.

Date: January 26, 2011 HAROLD FORD

By Counsel |

/s/

David P. Corrigan

VSB No. 26341

Attorney for Anthony Catoggio
Harman, Claytor, Corrigan & Wellman
P.O. Box 70280

Richmond, Virginia 23255

(804) 747-5200

(804) 747-6085 — facsimile
dcorrigan@hccw.com

Case 3:11-cv-00065-JRS Document 2 Filed 01/26/11 Page 2 of 2 PagelD# 20

CERTIFICATE

I hereby certify that on the 26" day of January, 2011, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

Robert H. Smatlenberg, Esq.
Metropolitan Law Center, PLC
10035 Sliding Hill Road, Suite 204
Ashland, VA 23005

Brian K. Telfair, Esq.

City of Richmond

Office of the City Attorney
900 E. Broad Street, Room 300
Richmond, VA 23219

Cullen D. Seltzer, Esq.
SeltzerGreene, PLC

707 E. Main Street, Suite 1025
Richmond, VA 23219

/s/

David P. Corrigan

VSB No. 2634]

Attorney for Anthony Catoggio
Harman, Claytor, Corrigan & Wellman
P.O. Box 70280

Richmond, Virginia 23255

(804) 747-5200

(804) 747-6085 — facsimile
deorrigan@heew.com

